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4
     Attorney for Defendant
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8
                          IN THE UNITED STATES DISTRICT COURT
9
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,             )   Case No.: 2:15 CR 140 MCE
12                                         )
                      Plaintiff,           )   STIPULATION AND ORDER CONTINUING
13                                         )   JUDGMENT AND SENTENCING
     vs.                                   )
14                                         )   Date: October 18, 2018
     JAMIE RAMON FUENTES MARTINEZ,         )   Judge: Hon. Morrison C. England, Jr.
15                                         )   Time: 10:00 a.m.
                      Defendant.           )
16                                         )

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18         The parties hereby stipulate the following:

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           1. Judgment and sentencing in this matter was set for September 6, 2018
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             and on the Court's own motion, was continued to September 20, 2018.
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             Counsel for the parties request the date for judgment and sentencing
22
             be continued from September 20, 2018 to October 18, 2018 at 10:00
23
             a.m.   Assistant U.S. Attorney Amanda Beck has been advised of this
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             request and has no objection.     U.S. Probation has also been advised
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             of this request.    The parties request the Court adopt the following
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             schedule pertaining to the presentence report:
27
             Judgment and Sentencing date:                                 10/18/18
28
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1              Reply, or Statement of Non-Opposition:                      10/11/18

2              Motion for Correction of the Presentence Report
               Shall be filed with the Court and served on the
3              Probation Officer and opposing counsel no later
               than:                                                       n/a
4
               The Presentence Report shall be filed with the
5              Court and disclosed to counsel no later than:               n/a

6              Counsel’s written objections to the Presentence
               Report Shall be delivered to the probation officer
7              and opposing Counsel no later than:                         n/a

8              The Presentence Report shall be filed with the
               Court And disclosed to counsel no later than:               n/a
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11   Dated:   August 27, 2018                     /s/ John R. Manning
                                                  JOHN R. MANNING
12                                                Attorney for Defendant
                                                  Jamie Ramon Fuentes Martinez
13

14   Dated:   August 27, 2018                     McGregor W. Scott
                                                  United States Attorney
15
                                                  by: /s/ Amanda Beck
16                                                AMANDA BECK
                                                  Assistant United States Attorney
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19                                        ORDER

20        IT IS SO ORDERED.

21   Dated:   September 1, 2018

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